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                                                                                                16                         UNITED STATES DISTRICT COURT
                                                                                                17                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                18
                                                                                                19   TAYLOR MADE GOLF                        Case No. 3:24-cv-0212-AGS-VET
                                                                                                     COMPANY, INC.,
                                                                                                20                                           Honorable Andrew G. Schopler
                                                                                                                    Plaintiff,
                                                                                                21                                           DECLARATION OF HANNAH
                                                                                                           v.                                MAKINDE
                                                                                                22
                                                                                                     COSTCO WHOLESALE CORP.,
                                                                                                23   and SOUTHERN CALIFORNIA
                                                                                                     DESIGN COMPANY d/b/a INDI
                                                                                                24   GOLF ,

                                                                                                25                  Defendants.

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                                                                                                                                                      DECLARATION OF HANNAH MAKINDE
                                                                                                                                                                 ISO MOTION TO DISMISS
                                                                                                                                                            Case No. 3:24-CV-0212-AGS-VET
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                                                                                                 1         I, Hannah Makinde, declare and state as follows:
                                                                                                 2         1.      I am counsel for defendant Southern California Design Company, and a
                                                                                                 3   member of the bar of this Court. This declaration is based on my personal knowledge,
                                                                                                 4   or if indicated, on information and belief. If called on to do so, I would and could
                                                                                                 5   testify competently to the matters set forth below.
                                                                                                 6         2.      Attached hereto as Exhibit 1 is a true and correct screen capture of the
                                                                                                 7   webpage at: www.techtarget.com/searchcio/definition/Reddit (Last Visted: March
                                                                                                 8   27, 2024).
                                                                                                 9         3.      Attached hereto as Exhibit 2 is a true and correct screen capture of the
                                                                                                10   webpage at:
                                                                                                11   old.reddit.com/r/golf/comments/18evsni/so_costcos_kirkland_irons_are_basically_r
SQUIRE PATTON BOGGS (US) LLP




                                                                                                12   ebranded/ (Last Visted: March 27, 2024), which is referenced in the Complaint
                               1841 Page Mill Road, Suite 150
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                                                                                                13   (Dkt. No. 1) at paragraph 51.
                                                                                                14         I hereby declare under penalty of perjury that the foregoing is true and correct.
                                                                                                15   Executed this 28th day of March 2024, at Los Angeles, California.
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                                                                                                                                                    /s/Hannah Makinde
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                                                                                                                                                           DECLARATION OF HANNAH MAKINDE
                                                                                                                                                2                     ISO MOTION TO DISMISS
                                                                                                                                                                 Case No. 3:24-CV-0212-AGS-VET
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